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S C H I L L E R




                    12
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                    13
                    14                  UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                    15
B O I E S




                    16 BROIDY CAPITAL MANAGEMENT                       Case No. 18-cv-02421-JFW
                       LLC and ELLIOTT BROIDY,
                    17                                                 MEMORANDUM OF POINTS AND
                    18           Plaintiffs,                           AUTHORITIES IN SUPPORT OF
                                                                       PLAINTIFFS’ OPPOSITION TO
                    19         v.                                      DEFENDANT STATE OF QATAR’S
                    20                                                 MOTION TO STAY THIS CASE,
                       STATE OF QATAR, STONINGTON                      OR ALTERNATELY, TO STAY
                    21 STRATEGIES LLC, NICOLAS D.                      DISCOVERY
                    22 MUZIN, GLOBAL RISK ADVISORS                     [Declaration of Lee S. Wolosky and
                       LLC, KEVIN CHALKER, DAVID                       Proposed Order filed concurrently
                    23 MARK POWELL, MOHAMMED BIN                       herewith]
                    24 HAMAD BIN KHALIFA AL THANI,
                       AHMED AL-RUMAIHI, and DOES 1-                   The Honorable John F. Walter
                    25 10,
                    26                                                 Hearing Date: July 9, 2018
                                 Defendants.                           Time: 1:30 p.m.
                    27                                                 Ctrm.: 7A
                    28
                                                                                            Case No. 18-cv-02421-JFW
                              MEMO OF P’S AND A’S ISO PLAINTIFFS’ OPPOSITION TO STATE OF QATAR’S MOTION TO STAY
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                   28                                                                         STAY DISCOVERY
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                     1                         PRELIMINARY STATEMENT
                     2        The State of Qatar (“Qatar”), one of multiple defendants in this action,
                     3 seeks a blanket stay of all discovery pending a yet-to-be-filed motion to
                     4 dismiss that cannot resolve the entire case and may not be granted, and even
                     5 in the absence of the service to date of a single discovery request on Qatar. If
                     6 granted, Qatar’s requested stay will ensure that data held by third parties is
                     7 destroyed or overwritten as time passes and permit other spoliation of
L L P




                     8 evidence that will hamper Plaintiffs’ receipt of admissible evidence to prove
F L E X N E R




                     9 that Defendants hacked Plaintiffs’ computers and computer network systems,
                   10 stole confidential and proprietary documents, and then unlawfully
                   11 disseminated them to the American media.
S C H I L L E R




                   12         Qatar describes discovery thus far as a “fishing expedition,” but
                   13 Plaintiffs have conducted successful, targeted discovery on two discrete
                   14 fronts: (1) forensic electronic discovery aimed at proving at trial attribution of
                   15 the sophisticated cyber-attacks against them; and (2) gathering evidence
B O I E S




                   16 related to a web of disclosed and undisclosed Qatari agents and sub-agents in
                   17 the United States who were involved either in carrying out the hacks or in
                   18 disseminating information stolen during those hacks, many of whom appear to
                   19 have been operating in contravention of the Foreign Agents Registration Act,
                   20 22 USC § 611 et seq. (“FARA”).
                   21         Plaintiffs’ efforts on this front are having an effect. Just last week, after
                   22 the Southern District of New York granted Plaintiffs’ motion to compel the
                   23 recipient of a third-party subpoena, Mr. Joseph Allaham (“Allaham”), to
                   24 produce documents, Allaham publicly admitted that he had been operating as
                   25 an undisclosed agent of Qatar, and attempted to disavow that relationship by
                   26
                   27                                              -1-               Case No. 18-cv-02421-JFW
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                   28                                                                      STAY DISCOVERY
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                     1 stating publicly: “Qatar enjoys portraying themselves as the purveyor of
                     2 peace in the region, but this could not be further from the truth.” 1 (Wolosky
                     3 Decl. ¶ 26.) The same day as that order, Defendant Muzin 2 publicly
                     4 terminated his own relationship with Qatar. (Id. ¶ 34.) On Friday of last
                     5 week, Qatar, claiming for the first time that Mr. Allaham was an unlawfully
                     6 unregistered agent of Qatar, asserted that Qatar had the right to assert
                     7 diplomatic privileges over his documents. (Id. ¶ 29.)
L L P




                     8              Qatar’s motion to stay has one singular purpose: impeding Plaintiffs’
F L E X N E R




                     9 ability to obtain admissible evidence concerning the hacks and dissemination
                   10 of materials stolen in the hacks. Qatar seeks delay in the awareness that such
                   11 evidence may decay or disappear. Qatar’s motion should be denied.
S C H I L L E R




                   12                                    STATEMENT OF FACTS
                   13        I.     QATAR TARGETED BROIDY FOR ATTACK BECAUSE
                                    BROIDY’S CRITICISM OF QATAR’S SUPPORT OF
                   14               TERRORISM HINDERED QATAR’S EFFORTS TO LIFT THE
                                    TRADE EMBARGO AGAINST IT
                   15
B O I E S




                                    Plaintiff Elliott Broidy is a California businessman who owns and
                   16
                         operates California-based Plaintiff Broidy Capital Management LLC
                   17
                         (“BCM”). As described in the FAC, Broidy is a prominent critic of Qatar’s
                   18
                         sponsorship of terrorism and is perceived as someone with influence with a
                   19
                         range of policymakers, including the President of the United States. (First
                   20
                         Amended Complaint (“FAC”) ¶¶ 74-77, ECF No. 47.) He was identified by
                   21
                   22    1
                        Mr. Allaham issued a statement on June 7, 2018 in which he stated that he
                   23 had engaged in “work with Qatar” and would register under FARA.
                      (Wolosky Decl. ¶ 24.)
                   24 2
                        Because Muzin is the owner and founder of Stonington Strategies LLC
                   25 (“Stonington”), references to Muzin herein include Stonington unless
                      otherwise stated.
                   26
                   27                                                    -2-               Case No. 18-cv-02421-JFW
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                   28                                                                            STAY DISCOVERY
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                     1 Qatar’s vast lobbying and public relations apparatus in the United States as an
                     2 obstacle to Qatar’s efforts to reverse the Trump Administration’s support for a
                     3 broad commercial embargo imposed on it by its neighboring States. (Id. ¶¶
                     4 40, 78-80, 89.)
                     5        Because of the devastating effects of the embargo on Qatar’s trade and
                     6 economy (id. ¶¶ 27, 40, 52), Qatar acted against Broidy. Beginning in early
                     7 2018, Broidy became aware that his personal and professional files,
L L P




                     8 correspondence, trade secrets, business plans, and other confidential and
F L E X N E R




                     9 private documents had been hacked and stolen from BCM’s computers and
                    10 servers. (FAC ¶¶ 97-116.) Forensic investigators retained by Plaintiffs
                    11 discovered that a sophisticated cyberattack resulted in the theft of thousands
S C H I L L E R




                    12 of emails and documents from BCM’s Los Angeles server from an Internet
                    13 Protocol (“IP”) address located in Doha, Qatar. (Id. ¶ 113; Wolosky Decl.
                    14 ¶ 9.) Forensic investigation also determined that although the electronic data
                    15 was exfiltrated from an IP address in Doha, the hackers assembled the stolen
B O I E S




                    16 electronic data into PDF-formatted documents that were created in North
                    17 American time zones. (FAC ¶ 117.) The stolen documents then were
                    18 carefully curated and disseminated to journalists from U.S. media
                    19 organizations who wrote stories in the U.S. media based on information
                    20 contained in the stolen emails. (Id. ¶¶ 117-26.)
                    21        Broidy soon became aware of Defendants’ involvement in these
                    22 unlawful actions. Joel Mowbray is a longstanding acquaintance of both
                    23 Defendant Muzin, a registered foreign agent of Qatar, and Broidy. In a series
                    24 of conversations between Mowbray and Muzin, Muzin admitted both his own
                    25 involvement and, as Qatar’s agent, Qatar’s involvement, in the illegal scheme.
                    26
                    27                                             -3-               Case No. 18-cv-02421-JFW
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                    28                                                                     STAY DISCOVERY
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                     1 (See Mowbray Decl., ECF No. 31-4.) Indeed, when Mowbray directly
                     2 accused Muzin of targeting Broidy on Qatar’s orders and assisting in the
                     3 attacks against Broidy, Muzin responded, “I was doing my job.” (FAC
                     4 ¶ 137.) Muzin also admitted that Qatar was targeting both Broidy and
                     5 Mowbray (who also had criticized Qatar), informing Mowbray that “everyone
                     6 [Muzin] ‘fingered’ for Qatar was ‘in danger,’” and warning that “Broidy
                     7 needed ‘to be very careful’ [because] the State of Qatar is ‘going after
L L P




                     8 [Mowbray],’” and “Honestly, I know they’re after you and Broidy.” (FAC
F L E X N E R




                     9 ¶ 136.) In addition, according to cell phone records recently obtained by
                    10 Plaintiffs, Muzin had, in the days and weeks prior to the publication of stories
                    11 based on the stolen documents, multiple discussions with at least some of the
S C H I L L E R




                    12 journalists who wrote those stories. (Wolosky Decl. ¶¶ 12-15.)
                    13   II.     PLAINTIFFS FILED THIS ACTION AND IMMEDIATELY
                                 BEGAN SEEKING PERISHABLE ELECTRONIC DISCOVERY
                    14           AND DISCOVERY FROM DISCLOSED AND UNDISCLOSED
                                 AGENTS OF QATAR
                    15
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                                 On March 26, 2018, Plaintiffs filed their original complaint in this
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                         court. (ECF No. 1.) Pursuant to this Court’s Standing Order in the case (ECF
                    17
                         No. 17) and in an effort to prevent spoliation of ephemeral electronic evidence
                    18
                         in this case, Plaintiffs immediately thereafter began serving third-party
                    19
                         discovery and party discovery on Defendants Muzin and Stonington.
                    20
                         (Wolosky Decl. ¶¶ 1, 33.)
                    21
                                 On May 7, the Court entered a stipulated order permitting Plaintiffs to
                    22
                         file an amended complaint by May 24. (ECF No. 46.) That stipulated order
                    23
                         also stayed party discovery and certain third-party discovery through June 4,
                    24
                         but specifically permitted all other discovery to continue. (Id.)3 Consistent
                    25
                         3
                    26       On May 24, 2018, Plaintiffs filed the FAC. The FAC identified new facts
                    27                                                -4-               Case No. 18-cv-02421-JFW
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                    28                                                                        STAY DISCOVERY
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                     1 with both the May 7 stipulated order and this Court’s Standing Order,
                     2 Plaintiffs continued to actively pursue third-party discovery to obtain
                     3 perishable forensic discovery from third-party internet service providers
                     4 (“ISPs”), email service providers, website registration providers, cloud
                     5 services providers, virtual private network providers (“VPNs”), and telephone
                     6 services providers, as well as discovery from unregistered agents of Qatar –
                     7 including Allaham, the unregistered Qatari agent expressly carved out of the
L L P




                     8 temporary stay of discovery in the May 7 Order. (Id.) When the stipulated
F L E X N E R




                     9 stay expired on June 4, the discovery against Muzin and Stonington became
                    10 active again, and responses are due July 2. (Wolosky Decl. ¶ 33.) However,
                    11 Plaintiffs have not served any discovery on Qatar or its Embassy in
S C H I L L E R




                    12 Washington D.C. or Consulate in Los Angeles, and do not intend to do so
                    13 prior to the resolution of Qatar’s anticipated motion to dismiss. (Id. ¶ 32.)
                    14 III.     PLAINTIFFS NEED TO BE ABLE TO CONTINUE TO PURSUE
                                PERISHABLE DISCOVERY – NONE OF WHICH IS AGAINST
                    15          QATAR
B O I E S




                    16          Plaintiffs need to be able to continue their discovery efforts. As set
                    17 forth throughout the FAC, the hacking campaign against Plaintiffs was highly
                    18 sophisticated, bearing all the fingerprints of a state-actor or state-sponsored
                    19 attack. Plaintiffs have conducted targeted discovery associated with multiple
                    20 attack vectors in order to collect admissible evidence to prove attribution at
                    21 trial. This process is time-sensitive because many ISP providers, in the
                    22 ordinary course, implement data overwriting practices, in which the data
                    23 relevant to Plaintiffs’ claims may be deleted within a set period of a few
                    24
                       uncovered through Plaintiffs’ continuing investigation, including further
                    25 specific allegations against existing Defendants, and the addition of several
                       additional defendants.
                    26
                    27                                               -5-               Case No. 18-cv-02421-JFW
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                    28                                                                       STAY DISCOVERY
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                     1 months. (Wolosky Decl. ¶ 18.) The evidence collection process often entails
                     2 seeking to obtain perishable evidence by moving down a chain of third parties
                     3 linking activity on the victims’ servers, computers, and email accounts back to
                     4 the attackers, who took significant and sophisticated precautions to try to hide
                     5 their identity.
                     6         Due to the attackers’ use of VPNs to route their malicious IP traffic
                     7 through multiple computers and hide their own origin IP addresses, for
L L P




                     8 example, Plaintiffs have had to trace IP addresses from the very start at BCM,
F L E X N E R




                     9 in many cases through computer servers located in the United States and
                    10 abroad. (Wolosky Decl. ¶¶ 2-8.) Already, Plaintiffs have collected
                    11 admissible evidence from numerous internet services and accounts used by the
S C H I L L E R




                    12 cyber attackers to further their unlawful plan. (Id.) Through subpoenas,
                    13 Plaintiffs have uncovered the attackers’ use of ISPs tied to locations and
                    14 individuals in the United States to further the attack. (Id. ¶ 6.) Plaintiffs also
                    15 have obtained IP addresses showing the ISP and location from which images
B O I E S




                    16 stored on a cloud storage website were downloaded in connection with the
                    17 execution of the attack. (Id. ¶ 4.) Plaintiffs similarly have obtained IP
                    18 addresses associated with the spear-phishing emails that launched the attacks,
                    19 and shortened URLs that prevented the victims from learning they are being
                    20 directed to malicious websites. (Id. ¶ 5.)
                    21         The nature of this evidence, however, makes it impossible to be
                    22 confident it is not being lost with each passing day. As Plaintiffs continue to
                    23 seek admissible evidence that will prove attribution, they have requested that
                    24 each involved third-party preserve all relevant data. (Id. ¶¶ 17-19.) Plaintiffs
                    25 cannot in some instances move to the next link until they have collected
                    26
                    27                                             -6-               Case No. 18-cv-02421-JFW
                            MEMO OF P’S AND A’S ISO PLAINTIFFS’ OPPOSITION TO STATE OF QATAR’S MOTION TO
                    28                                                                     STAY DISCOVERY
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                     1 evidence from the one preceding it, and Plaintiffs have no way of informing
                     2 the further links in the chain to suspend their ordinary data over-writing or
                     3 auto-deletion policies until they obtain evidence from the preceding link.
                     4 (Id.)4
                     5          Plaintiffs also have also been seeking discovery into the covert attempts
                     6 to disseminate the fruits of that hacking campaign to U.S. media organizations
                     7 and elsewhere, focusing their discovery efforts on identifying and collecting
L L P




                     8 evidence from a web of lobbyists, public relations firms, and registered and
F L E X N E R




                     9 unregistered domestic agents – all of whom are U.S. persons working for
                    10 Qatar. (Id. ¶ 33.) Although much of that discovery was stayed until June 4, it
                    11 has already had jarring consequences on the Qatari lobbying operation in the
S C H I L L E R




                    12 United States and has enabled Plaintiffs to gather admissible evidence further
                    13 tying Muzin to involvement with the dissemination of materials stolen from
                    14 Plaintiffs. For example, phone records obtained in discovery reveal numerous
                    15 pre-publication contacts between Muzin and reporters who published stories
B O I E S




                    16 based on the stolen emails and documents. (Wolosky Decl. ¶¶ 12-15.)
                    17 Among others, Muzin’s phone records show that he spoke to Tom LoBianco
                    18 of the Associated Press, on more than a dozen occasions between March 12,
                    19 2018 and May 8, 2018. (Id. ¶ 12.) During that period, Mr. LoBianco was
                    20 engaged in extensive reporting relating to a long feature about Mr. Broidy that
                    21 was based on access to stolen materials. (Id. ¶ 13.) FARA records also show
                    22 that Muzin engaged in telephone conversations during periods pertinent to the
                    23 attack with other reporters who would subsequently write stories about Mr.
                    24   4
                         Plaintiffs’ concerns about the spoliation of key electronic evidence have
                    25 been reinforced by at least one response from an electronic service provider
                       that all relevant data had already been deleted. (Wolosky Decl. ¶ 17.)
                    26
                    27                                              -7-               Case No. 18-cv-02421-JFW
                             MEMO OF P’S AND A’S ISO PLAINTIFFS’ OPPOSITION TO STATE OF QATAR’S MOTION TO
                    28                                                                      STAY DISCOVERY
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                     1 Broidy. (Id. ¶¶ 14-15.)
                     2                                  LEGAL STANDARD
                     3           The Federal Rules of Civil Procedure do not provide for automatic or
                     4 blanket stays of discovery merely because a party has filed or, in this case,
                     5 plans to file, a motion to dismiss. See Skellerup Indus. Ltd. v. City of L.A.,
                     6 163 F.R.D. 598, 600-01 (C.D. Cal.1995). Nor are stays “of all discovery . . .
                     7 required in every case in which a defendant raises a claim of immunity.”
L L P




                     8 M.G. v. Metropolitan Interpreters and Translators, Inc., No. 12cv460-JM
F L E X N E R




                     9 (MDD), 2013 WL 690833, at *2 (S.D. Cal. Feb. 26, 2013). Instead, a party
                    10 “seeking a stay of discovery carries a heavy burden of making a strong
                    11 showing why discovery should be denied.” Skellerup, 163 F.R.D. at 600.
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                    12           When considering a stay of discovery pending a motion to dismiss, the
                    13 Court should consider factors such as: (1) the interests of the plaintiff in
                    14 proceeding expeditiously with the civil action and the potential prejudice to
                    15 plaintiffs of a delay; (2) the burden on the defendants; (3) the convenience to
B O I E S




                    16 the court; (4) the interests of persons not parties to the civil litigation; and
                    17 (5) the public interest. Top Rank, Inc. v. Haymon, No. CV 15-4961-JFW
                    18 (MRWx), 2015 WL 9952887, at *1 (C.D. Cal. Sept. 17, 2015).
                    19                                       ARGUMENT
                    20    I.     DISCOVERY SHOULD NOT BE STAYED
                    21           A. Staying Discovery Will Irreparably Harm Plaintiffs
                    22           A stay of discovery is particularly inappropriate where, as here, there is
                    23 a genuine danger of key evidence disappearing. See, e.g., Malibu Media, LLC
                    24 v. Braun, No. 14-CV-12409, 2015 WL 1014951, at *2 (E.D. Mich. Mar. 9,
                    25 2015) (denying stay of discovery and finding that “[p]laintiff is entitled to
                    26
                    27                                                -8-               Case No. 18-cv-02421-JFW
                               MEMO OF P’S AND A’S ISO PLAINTIFFS’ OPPOSITION TO STATE OF QATAR’S MOTION TO
                    28                                                                        STAY DISCOVERY
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                     1 access the crucial evidence—defendant’s hard drives and other electronic
                     2 storage devices—before time lapses and older deleted files naturally are
                     3 overwritten by newer files”). An intrinsic concern in any case involving
                     4 hacking allegations is that the evidence needed to prove the case is stored in
                     5 volatile digital systems, and often with third parties that frequently overwrite
                     6 or delete data through normal operations. See Sandoval v. Friendlum, Inc.,
                     7 No. 17CV1917-MMA (BGS), 2018 WL 1150837, at *5 (S.D. Cal. Mar. 2,
L L P




                     8 2018) (“[T]he Court finds that a stay would result in the potential of
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                     9 prejudicing Plaintiff with regards to delayed discovery . . . if the Court grants
                    10 a stay in this case, [plaintiff] may struggle to obtain call logs from third-party
                    11 carriers with retention periods lasting as short as six months.”). In fact,
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                    12 Plaintiffs already have received a response to a third-party subpoena
                    13 explaining that the data sought is no longer available. (See Wolosky Decl.
                    14 ¶ 17.) As time goes on, more data will be irretrievably lost, rendering a stay
                    15 of all discovery highly prejudicial to Plaintiffs.
B O I E S




                    16         In addition to forensic electronic evidence, Plaintiffs have been steadily
                    17 uncovering a network of Qatari agents and sub-agents in the U.S. who were
                    18 involved in the attacks on BCM and Broidy, some of whom appear not to
                    19 have registered under FARA as required by law. For example, Mr. Allaham’s
                    20 decision to reveal himself as a sub-agent of Qatar after being ordered to
                    21 produce documents in this case is but one example of a discovery-driven
                    22 disclosure of such hidden agents. (See id. ¶ 24.) Plaintiffs here are concerned
                    23 that, particularly in light of the publicity surrounding this litigation, such
                    24 evidence of work for Qatar may be destroyed if discovery is not taken
                    25 promptly. See generally Richards v. Wisconsin, 520 U.S. 385, 395 (1997)
                    26
                    27                                             -9-               Case No. 18-cv-02421-JFW
                            MEMO OF P’S AND A’S ISO PLAINTIFFS’ OPPOSITION TO STATE OF QATAR’S MOTION TO
                    28                                                                     STAY DISCOVERY
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                     1 (recognizing that, under certain circumstances, those that are being
                     2 investigated for crimes may have the opportunity and incentive to destroy
                     3 evidence). 5
                     4         The potential irreparable prejudice to Plaintiffs from such spoliation of
                     5 evidence is exacerbated here by the fact that this litigation will continue
                     6 against non-sovereign defendants even if Qatar itself is ultimately dismissed
                     7 from the litigation under the FSIA. Under such circumstances, Qatar’s
L L P




                     8 demand for stay of such discovery now would deprive Plaintiffs of the
F L E X N E R




                     9 opportunity to prove the merits of their case against the other Defendants.
                    10         B. Allowing Discovery To Proceed Will Not Unduly Burden Qatar
                                  Because It Is Not Entitled To Sovereign Immunity In This Case
                    11
                               Qatar contends discovery should be stayed because it has immunity
S C H I L L E R




                    12
                         from jurisdiction under the Foreign Sovereign Immunities Act, 28 U.S.C.
                    13
                         § 1602 et seq.(the “FSIA”). (SOQ Br. 7-10.) Under the circumstances of this
                    14
                         case, it does not.
                    15
B O I E S




                               The FSIA governs foreign state immunity from jurisdiction in United
                    16
                         States courts. Republic of Argentina v. NML Capital, Ltd., 134 S. Ct. 2250,
                    17
                         2256 (2014). Section 1605 of the FSIA expressly denies immunity to foreign
                    18
                         states that engage certain kinds of conduct. For example, foreign states are
                    19
                         not immune from civil liability for torts they commit in the United States. 28
                    20
                         U.S.C. § 1605(a)(5). They are also not immune from damages based on their
                    21
                         commercial activities, whether in the United States or abroad. Id.
                    22
                         § 1605(a)(2). Because Plaintiffs’ claims are based on Qatar’s tortious conduct
                    23
                       5
                         Note that the FBI is actively investigating the cyber-attacks on Plaintiffs.
                    24 See “FBI Probes Hack Of Elliott Broidy, The Republican Operative At The
                       Center  Of Scandal After Scandal,” The Daily Beast, June 4, 2018, available at
                    25 https://www.thedailybeast.com/fbi-probes-hack-of-elliott-broidy-the-
                    26 republican-operative-at-the-center-of-scandal-after-scandal.
                    27                                             - 10 -             Case No. 18-cv-02421-JFW
                             MEMO OF P’S AND A’S ISO PLAINTIFFS’ OPPOSITION TO STATE OF QATAR’S MOTION TO
                    28                                                                      STAY DISCOVERY
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                     1 and commercial activities, Qatar cannot claim immunity and cannot show that
                     2 its anticipated motion to dismiss is likely to succeed. With no immunity, there
                     3 is no basis for a discovery stay.
                     4               1. The Non-Commercial Tort Exception Deprives Qatar Of
                                        Immunity
                     5
                     6         The FAC establishes that Qatar participated in tortious conduct
                     7 “occurring in the United States” – conduct that is an exception to immunity
L L P




                     8 under the FSIA. 28 U.S.C. § 1605(a)(5). In the Ninth Circuit, the non-
F L E X N E R




                     9 commercial tort exception removes immunity when “plaintiffs allege at least
                    10 one entire tort occurring in the United States.” Olsen by Sheldon v. Gov’t of
                    11 Mexico, 729 F.2d 641, 646 (9th Cir. 1984), abrogated on other grounds by
S C H I L L E R




                    12 Joseph v. Office of Consulate General of Nigeria, 830 F.2d 1018 (9th Cir.
                    13 1987); see also Greenpeace, Inc. (U.S.A.) v. State of France, 946 F. Supp.
                    14 773, 785 (C.D. Cal. 1996). The exception applies even though “some
                    15 allegedly tortious acts . . . took place outside the United States,” Olsen, 729
B O I E S




                    16 F.2d at 646, and even though the intent to commit the tort may have been
                    17 formed outside the United States, Liu v. Republic of China, 892 F.2d 1419,
                    18 1422-23, 1433 (9th Cir. 1989) (tortious activity exception applied where
                    19 precipitating actions occurred, and intent was formed, abroad when plaintiff
                    20 brought wrongful death claim based on foreign state planning assassination
                    21 and training assassins for that purpose abroad). Other jurisdictions have come
                    22 to the same conclusions. See, e.g., Doe v. Bin Laden, 663 F.3d 64, 66-67, 71
                    23 (2d Cir. 2011) (finding “no question” that the tort occurred in the United
                    24 States where claims alleged that the Taliban, acting as the nation of
                    25 Afghanistan, entered into a conspiracy to commit aircraft sabotage and
                    26
                    27                                            - 11 -             Case No. 18-cv-02421-JFW
                            MEMO OF P’S AND A’S ISO PLAINTIFFS’ OPPOSITION TO STATE OF QATAR’S MOTION TO
                    28                                                                     STAY DISCOVERY
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                     1 extrajudicial killing; finding discovery necessary to determine whether other
                     2 elements impacting jurisdiction were satisfied). Consequently, the FSIA does
                     3 not protect Qatar either from liability for its participation in the torts alleged in
                     4 the FAC (see, e.g., FAC ¶¶ 162-68, 178-87, 228-38) or from discovery
                     5 seeking to establish its liability for those torts. See, e.g., Bin Laden, 663 F.3d
                     6 at 66-67, 71.6
                     7         Qatar’s reliance on Doe v. Federal Democratic Republic of Ethiopia,
L L P




                     8 851 F.3d 7 (D.C. Cir. 2017) and Frolova v. Union of Soviet Socialist
F L E X N E R




                     9 Republics, 761 F.2d 370 (7th Cir. 1985) is misplaced and does not support a
                    10 discovery stay. The Ethiopia court applied a different Circuit Court’s
                    11 conflicting interpretation of the non-commercial tort exception 7 to a complaint
S C H I L L E R




                    12 that did not allege any U.S.-based activity beyond than the installation of
                    13 spyware in an email sent from a foreign location. 8 Ethiopia, 851 F.3d at 10.
                    14
                         6
                          Qatar’s attempt to cast Plaintiffs’ support for an “entire” tort as resting
                    15
B O I E S




                         merely on Plaintiffs’ civil conspiracy claim (see SOQ Br. 9) is incorrect.
                    16   7
                           The Ninth Circuit has recognized that its application of the noncommercial
                    17   tort exception is different from the D.C. Circuit, which decided Ethiopia. See
                         Doe v. Holy See, 557 F.3d 1066, 1085 n.11 (9th Cir. 2009) (noting that “we
                    18
                         have no occasion to consider whether the entire tort must occur in the United
                    19   States, as the Sixth and D.C. Circuits have held” and pointing to the Ninth
                         Circuit’s opinion in Olsen as authority contrary to the Sixth and D.C.
                    20
                         Circuits).
                    21   8
                          In fact, the Ethiopia district court emphasized that the complaint in that case
                    22   did not allege that any “agent or employee of Ethiopia . . . ever set foot in the
                         United States in connection with that tort.” Doe v. Federal Democratic
                    23   Republic of Ethiopia, 189 F. Supp. 3d 6, 18 (D.D.C. 2016). The district court
                    24   also acknowledged that, if Ethiopia had sent “a flesh and blood agent” to the
                         United States to install a recording device, the surveillance would “fall
                    25   squarely within the ‘entire tort’ rule.” Id. at 11. Here, Plaintiffs allege that
                    26   “flesh and blood” agents of Qatar not only “set foot” in the United States but
                    27                                             - 12 -             Case No. 18-cv-02421-JFW
                             MEMO OF P’S AND A’S ISO PLAINTIFFS’ OPPOSITION TO STATE OF QATAR’S MOTION TO
                    28                                                                      STAY DISCOVERY
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                     1 Frolova addressed claims arising from Russia’s refusal to allow a Russian
                     2 citizen to emigrate to the United States, conduct that occurred entirely in
                     3 Russia. Frolova, 761 F.2d at 371-72. Moreover, beyond the computer-based
                     4 statutory claims alleged in the FAC, Plaintiffs also allege other “entire torts”
                     5 that were committed “in the United States” by “flesh and blood agents” of
                     6 Qatar. These include, but are not limited to: (1) receipt and possession of
                     7 stolen property (see FAC ¶¶ 162-68); (2) conversion (id. ¶¶ 178-87); and (3)
L L P




                     8 civil conspiracy (id. ¶¶ 228-38).
F L E X N E R




                     9                2. The Commercial Activities Exception Deprives Qatar of
                                         Immunity
                    10
                    11         Qatar also cannot show that its motion to dismiss is likely to succeed
S C H I L L E R




                    12 because the FAC alleges claims based on Qatar’s commercial activities.
                    13 Those claims constitute another exception to immunity under the FSIA. 28
                    14 U.S.C. § 1605(a)(2). For example, Plaintiffs allege that the entire reason for
                    15
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                       also committed “entire torts” in the United States. (See, e.g., FAC ¶¶ 93, 105,
                    16 114, 117-20, 162-68, 178-87, 228-38.)
                    17        Additionally, the “hacks” in Ethiopia were also different from those in this
                         case. The hackers in Ethiopia sent an “automated” spyware program into the
                    18
                         Ethiopia plaintiff’s computer via email from outside the United States and did
                    19   not personally interact with the plaintiff’s computer in any way. See Ethiopia,
                         851 F.3d at 8-9. The hackers in BCM’s and Broidy’s case, however,
                    20
                         “personally” and “manually” interacted with Plaintiffs’ network and computer
                    21   systems in real time and “manually” initiated the computer applications used
                         to steal Plaintiffs’ data files from those computers and servers. Thus, the
                    22
                         “essential locus” of the hacking, and, therefore, the tort was the United States
                    23   where Plaintiffs’ computers were located. Cf. United States v. Ivanov, 175 F.
                         Supp. 2d 367, 274 (D. Conn. 2001) (prosecuting Russian hacker who
                    24
                         infiltrated Connecticut business computer network to gain root passwords,
                    25   holding that violation occurred in U.S. territory because the computers were in
                         Connecticut).
                    26
                    27                                             - 13 -             Case No. 18-cv-02421-JFW
                             MEMO OF P’S AND A’S ISO PLAINTIFFS’ OPPOSITION TO STATE OF QATAR’S MOTION TO
                    28                                                                      STAY DISCOVERY
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                     1 attacking Broidy, who was closely identified with President Trump’s support
                     2 of the commercial embargo of Qatar, was to discredit Broidy as part of an
                     3 effort to influence and change U.S. policy regarding the embargo, which
                     4 presented an existential threat to Qatar. (FAC ¶¶ 2, 4, 15, 27, 31, 40, 52, 77-
                     5 80.) The fact that the claims based on Qatar’s “commercial activity” are “tort-
                     6 based” does not preclude the commercial activities exception. See, e.g., Adler
                     7 v. Fed. Republic of Nigeria, 107 F.3d 720, 726 (9th Cir. 1997) (applying the
L L P




                     8 commercial activities exception to tort claims).
F L E X N E R




                     9         Contrary to Qatar’s assertions, Plaintiffs’ claims are “based on” or
                    10 “connected to” commercial activity by Qatar within the meaning of
                    11 § 1605(a)(2). For example, Plaintiffs allege that Qatar retained operatives for
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                    12 the specific purpose of carrying out the hack against Plaintiffs and that Qatar
                    13 increased the compensation for other United States-based operatives to
                    14 incentivize them to participate in the effort to destroy BCM and Broidy and to
                    15 pay for the necessary resources to implement the plan. (See, e.g., FAC ¶¶ 2-3,
B O I E S




                    16 5-7, 20-23, 31, 52, 54, 61, 63, 72-73, 88, 90-96.) Therefore, Qatar’s
                    17 commercial activity forms part of the “elements of [Plaintiffs’] claim that, if
                    18 proven, would entitle [them] to relief under [their] theory of the case.” Sun v.
                    19 Taiwan, 201 F.3d 1105, 1109 (9th Cir. 2000) (quoting Saudi Arabia v. Nelson,
                    20 507 U.S. 349, 357 (1993)). The FAC also provides the nexus between the
                    21 Plaintiffs’ action and Qatar’s commercial activity. Siderman de Blake v.
                    22 Republic of Argentina, 965 F.2d 699, 709 (9th Cir. 1992). Plaintiffs’ claims in
                    23 this case, therefore, have a “substantive connection” or “causal link” to
                    24 Qatar’s commercial activities. Adler, 107 F.3d at 726.
                    25         Qatar’s myopic focus on the “hiring of U.S. agents” without reference
                    26
                    27                                            - 14 -             Case No. 18-cv-02421-JFW
                            MEMO OF P’S AND A’S ISO PLAINTIFFS’ OPPOSITION TO STATE OF QATAR’S MOTION TO
                    28                                                                     STAY DISCOVERY
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                     1 to what those agents were hired, or paid, to do mischaracterizes the
                     2 commercial activity. (SOQ Br. 10.) Moreover, Qatar fails to recognize that
                     3 Plaintiffs’ claims need not be based entirely on the commercial activity in
                     4 order for the commercial activity exception to apply. Sun, 201 F.3d at 1109;
                     5 Nelson, 507 U.S. at 358 n.4.
                     6         Because its conduct falls within the noncommercial tort exception and
                     7 the commercial activity exception, Qatar does not have immunity and cannot
L L P




                     8 justify staying discovery.
F L E X N E R




                     9         C. Allowing Discovery To Proceed Is In the Public Interest
                    10         Qatar is also not entitled to a stay of discovery because the public
                    11 interest strongly favors allowing discovery. As discussed at length above, this
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                    12 case implicates crucial public issues, such as the ability of a private citizen to
                    13 express himself on issues of national importance without fear of attack from a
                    14 foreign power. Broidy was targeted specifically because of his political
                    15 advocacy, and as detailed in the FAC, he has paid an immense price. If Qatar
B O I E S




                    16 is permitted to shut discovery down before it even files a motion to dismiss, it
                    17 will serve to embolden foreign states and cyber mercenaries that wish to target
                    18 Americans.
                    19         Broidy is not the only American targeted by a foreign power for
                    20 exercising his First Amendment rights. The Electronic Frontier Foundation
                    21 has noted a dangerous increase in foreign regimes using computer hacking to
                    22 target dissidents and opponents abroad. See Nate Cardozo, Can Foreign
                    23 Governments Launch Malware Attacks on Americans Without
                    24 Consequences?, Electronic Frontier Foundation, Feb. 2, 2017, available at
                    25 https://tinyurl.com/y8qgk6kj. While these regimes can more directly stifle
                    26
                    27                                            - 15 -             Case No. 18-cv-02421-JFW
                            MEMO OF P’S AND A’S ISO PLAINTIFFS’ OPPOSITION TO STATE OF QATAR’S MOTION TO
                    28                                                                     STAY DISCOVERY
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                     1 dissent at home, they are increasingly relying on the very same methods used
                     2 in this case to punish critics who live outside their borders. Id. The public has
                     3 a strong interest in protecting and vindicating the rights of those who reside
                     4 inside its borders from all forms of unlawful intrusion and theft.
                     5        Of equal importance, the public has a significant interest in the national
                     6 security implications involved with this case, including identifying foreign
                     7 agents operating on U.S. soil. Discovery has already led one unregistered
L L P




                     8 foreign agent to come clean, notwithstanding Qatar’s last-second attempts to
F L E X N E R




                     9 impede him from complying with his discovery obligations. Just last week,
                    10 the Southern District of New York granted Plaintiffs’ motion to compel
                    11 discovery against Joey Allaham, who is alleged in the FAC to be an
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                    12 unregistered domestic agent of Qatar. (See FAC ¶¶, 3, 62, 71; Wolosky Decl.
                    13 ¶ 23.) Shortly thereafter, Mr. Allaham announced that he was cutting his ties
                    14 with Qatar and that he would belatedly register under FARA for the period of
                    15 time he did have such ties. (Wolosky Decl. ¶ 24.)
B O I E S




                    16        Plaintiffs have every expectation that discovery will continue to shine a
                    17 light on the web of money and influence Qatar aimed at American foreign
                    18 policy and public opinion. This discovery, even conducted by private parties,
                    19 supports the important national objectives that led Congress to enact FARA in
                    20 the first place: “to insure that the U.S. Government and the people of the
                    21 United States are informed of the source of information (propaganda) and the
                    22 identity of persons attempting to influence U.S. public opinion, policy, and
                    23 laws.” General FARA Frequently Asked Questions: What is the Purpose of
                    24 FARA?, U.S. Dep’t of Justice (Aug. 21, 2017), https://www.justice.gov/nsd-
                    25 fara/general-fara-frequently-asked-questions#2.
                    26
                    27                                            - 16 -             Case No. 18-cv-02421-JFW
                            MEMO OF P’S AND A’S ISO PLAINTIFFS’ OPPOSITION TO STATE OF QATAR’S MOTION TO
                    28                                                                     STAY DISCOVERY
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                         II.     EVEN IF DISCOVERY OF QATAR WERE STAYED, QATAR
                     1           PROVIDES NO VALID REASON TO STAY DISCOVERY
                                 FROM THE NON-SOVEREIGN DEFENDANTS
                     2
                                 A. Moving Forward With Discovery From Non-Sovereign
                     3              Individuals for Entities Will Not Burden Qatar
                     4           Qatar argues that it requires a stay of discovery against all third-parties
                     5 because it would be burdensome to participate in the discovery process.
                     6 (SOQ Br. 10.) Qatar’s reliance on Ashcroft v. Iqbal, 556 U.S. 662, 680 (2009)
                     7 is unavailing for two reasons. First, Iqbal involved a plaintiff who had “not
L L P




                     8 ‘nudged [his] claims’ of invidious discrimination ‘across the line from
F L E X N E R




                     9 conceivable to plausible.’” Id. at 680. By contrast, Plaintiffs allege facts that
                    10 are not only “plausible” but are known to have occurred. While there was no
                    11 known tort that took place in Iqbal, here, Defendants do not question that the
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                    12 underlying tort—the hacking of Plaintiffs and the distribution of their
                    13 emails—did in fact occur. The Supreme Court found Iqbal to be a case where
                    14 there was nothing more than “[t]hreadbare recitals of the elements of a cause
                    15 of action, supported by mere conclusory statements,” id. at 678, but here there
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                    16 has been evidence attesting to the existence of the tort and the Defendants’
                    17 responsibility for it. Plaintiffs have alleged specific steps by specific
                    18 individuals in the FAC.
                    19           Second, the complaint in Iqbal failed to identify any exception to the
                    20 defendants’ claims to immunity. See Iqbal, 556 U.S. at 686. That is not the
                    21 case here, where Plaintiffs have identified two exceptions to Qatar’s immunity
                    22 and pled facts showing that Qatar’s conduct falls within those exceptions.
                    23 Therefore, Plaintiffs are entitled to proceed with discovery to “verify
                    24 allegations of specific facts crucial to” acquiring admissible evidence proving
                    25 that Qatar and the other Defendants are responsible for the cyberattacks. Af-
                    26
                    27                                               - 17 -             Case No. 18-cv-02421-JFW
                               MEMO OF P’S AND A’S ISO PLAINTIFFS’ OPPOSITION TO STATE OF QATAR’S MOTION TO
                    28                                                                        STAY DISCOVERY
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                     1 Cap, Inc. v. Chevron Overseas (Congo) Ltd., 475 F.3d 1080, 1095 (9th Cir.
                     2 2007) (internal quotation marks omitted). Plaintiffs’ ability to seek
                     3 jurisdictional discovery to verify the allegations in the FAC is well established
                     4 and is not imperiled by Iqbal.
                     5         B. The Vienna Conventions Do Not Extend Privileges Or
                                  Protections to Documents In The Custody Of Individuals Or
                     6            Entities Who Are Not Members Of The Qatari Mission
                     7         Under the guise of avoiding the burden of discovery, Qatar asks the
L L P




                     8 Court to cloak documents not in its possession with privileges that do not
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                     9 exist. More specifically, it asks the Court to extend protections afforded to
                    10 diplomatic records under the Vienna Convention on Diplomatic Relations and
                    11 the Vienna Convention on Consular Relations to documents that it has already
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                    12 intentionally and purposefully disclosed to its agents and subagents in the
                    13 United States, including Muzin. (SOQ Br. 12-14.) Qatar’s effort to extend
                    14 the Vienna Conventions has no legal support and is, in fact, undermined by
                    15 International Law, its own contractual relations with those third parties and by
B O I E S




                    16 the U.S. statutes and regulations applicable to FARA-registered agents.
                    17         First, nothing in the text of either Convention supports the notion that
                    18 diplomatic privileges extend to documents that have been disclosed to
                    19 individuals or entities who are not part of the diplomatic mission and have
                    20 been taken out of the mission’s “archives” by such individuals. Qatar
                    21 stretches the meaning of the terms “official correspondence” and “inviolable
                    22 at any time and wherever they may be” 9 far beyond their intended scope. See
                    23 Eileen Danza, Diplomatic Law: Commentary on the Vienna Convention on
                    24   9
                        Vienna Convention on Diplomatic Relations, art. 24, Apr. 18, 1961, 23
                    25 U.S.T. 3227, 500 U.N.T.S. 95; Vienna Convention on Consular Relations, art
                       33, Apr. 24, 1963, 21 U.S.T. 77, 596 U.N.T.S. 261.
                    26
                    27                                             - 18 -             Case No. 18-cv-02421-JFW
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                    28                                                                      STAY DISCOVERY
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                     1 Diplomatic Relations 189 (4th ed. 2016) (quoting Summary of Records of the
                     2 10th Session, [1958] 1. Y.B. Int’l L. Comm’n 143, U/N. Doc.
                     3 A/CN.4/SER.A/1958) (“The phrase ‘official correspondence of the mission’
                     4 meant correspondence from the mission, that sent to the mission from its
                     5 chancellery or other authorities of the sending state, and the correspondence
                     6 between the mission and consulates situated in the receiving state.”); Shearson
                     7 Lehman Bros Inc. v. Maclaine, Watson and Co Ltd; International Tin Council
L L P




                     8 (Intervener) (No 2) [1988] 1 All ER 116, 124-25 (Eng.) (records provided to
F L E X N E R




                     9 third parties are not protected by the Vienna Convention), attached as Exh. J.
                    10 Similarly, the inviolability of “official correspondence” within the meaning of
                    11 the Vienna Convention on Diplomatic Relations “is not really dealing with the
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                    12 correspondence between the mission and the outside world; it is really dealing
                    13 with internal correspondence.” Investigation into Abductions of American
                    14 Children to Saudi Arabia: Hearing Before the H. Comm. on Govt. Reform,
                    15 107th Cong. 1326 (2002) (statement of Professor Eileen Denza).
B O I E S




                    16         Second, none of the cases cited by Qatar involve efforts to discover
                    17 documents from individuals or entities who are not members of the mission.
                    18 Rather, they all involve discovery directed at the mission or government
                    19 officials. For example, 767 Third Avenue Associates v. Permanent Mission of
                    20 Republic of Zaire to United Nations, 988 F.2d 295 (2d Cir. 1993) addressed
                    21 the “inviolability” of the building used by a diplomatic mission and the
                    22 limitations on a landlord’s authority to “enter” and “evict” the mission when it
                    23 fails to pay rent. City of N.Y. v. Rep. of Philippines, No.
                    24 03Civ.6085RCCFSM, 2004 WL 2710026, at *4 (S.D.N.Y. Nov. 23, 2004)
                    25 involved document requests served directly on the Philippines mission during
                    26
                    27                                            - 19 -             Case No. 18-cv-02421-JFW
                            MEMO OF P’S AND A’S ISO PLAINTIFFS’ OPPOSITION TO STATE OF QATAR’S MOTION TO
                    28                                                                     STAY DISCOVERY
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                     1 litigation over tax liabilities for a commercial center being operated in the
                     2 same building. Ewald v. Royal Norwegian Embassy, No. 11-CV-2116
                     3 SRN/SER, 2013 WL 6094600, at *6 (D. Minn. Nov. 20, 2013) concerned a
                     4 motion to compel documents directly from a Norwegian consulate. And,
                     5 Taiwan v. U.S. District Court for the Northern District of California, 128 F.3d
                     6 712 (9th Cir. 1997) concerned a motion to compel the deposition of a
                     7 Taiwanese official who himself enjoyed immunity from jurisdiction.
L L P




                     8         Third, Qatar’s own agreement with its contractors expressly recognizes
F L E X N E R




                     9 that any “documents, information, or communications” “received” by them
                    10 are subject to being disclosed “as required by law.” (Wolosky Dec. ¶ 25 &
                    11 Exh. I.) Therefore, Qatar knows that documents it puts into the custody of
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                    12 third-party agents are not “inviolable” and are subject to discovery.
                    13         Fourth, Qatar’s long-standing business dealings with FARA agents also
                    14 demonstrates that documents it puts into the possession of third parties are not
                    15 “inviolable.” As more fully set forth in Plaintiffs’ Opposition to Muzin’s
B O I E S




                    16 motion to stay discovery, FARA is “a disclosure statute.” Attorney Gen. of
                    17 U.S. v. Covington & Burling, 411 F. Supp. 371, 373 (D.D.C. 1976). (See also
                    18 Pl’s Opp. To Muzin Br. Part I.B.) Section 615 requires FARA agents to keep
                    19 all “records with respect to all [their] activities” while they are “agent[s] of a
                    20 foreign principal,” and requires them to “open” them for inspection by “any
                    21 official charged with the enforcement” of FARA. 22 U.S.C. § 615; see also
                    22 Covington, 411 F. Supp. at 376 (“[T]he phrase ‘books of account and other
                    23 records’ includes records which would tend to reveal confidential
                    24 communications between a foreign principal and its agent-attorney concerning
                    25 legal matters.”).
                    26
                    27                                            - 20 -             Case No. 18-cv-02421-JFW
                            MEMO OF P’S AND A’S ISO PLAINTIFFS’ OPPOSITION TO STATE OF QATAR’S MOTION TO
                    28                                                                     STAY DISCOVERY
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                                C. Additional Factors Weigh in Favor of Continuing Discovery
                     1             Against Third-Parties and Parties Other Than Qatar.
                     2          Additional factors provide compelling reasons to continue discovery
                     3 from non-sovereign individuals or entitles during the pendency of the motions
                     4 to dismiss.
                     5          First, Qatar’s assertion that it will suffer prejudice in the absence of a
                     6 stay of all discovery (SOQ Br. 16) conflates discovery against Qatar (which
                     7 Plaintiffs have not sought to date) with discovery in which Qatar would not be
L L P




                     8 required to have any substantive engagement – such as non-party forensic
F L E X N E R




                     9 document discovery10 and document requests to parties that may well remain
                    10 in this litigation even if Qatar itself is dismissed.11 Qatar’s argument that it
                    11 will be relieved from ever engaging in such discovery if it is dismissed from
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                    12 this case either assumes that all defendants will also be dismissed or reveals
                    13 that Qatar has no intention of challenging such discovery if it is itself
                    14 dismissed from the action.
                    15          Second, allowing discovery to continue against third parties and
B O I E S




                    16 defendants other than Qatar will streamline the litigation going forward. As
                    17 discussed above and in Plaintiffs’ response to Muzin’s motion to stay
                    18 discovery, Muzin’s claims of sovereign immunity are not sustainable. (See
                    19
                         10
                    20    Forensic, non-party discovery cannot possibly infringe on any of Qatar’s
                    21 proclaimed diplomatic privileges unless tit results in the production of
                       admissible evidence attributing the hacking to the government of Qatar itself –
                    22 in which case that fact would be critically important in ruling on any motion
                    23 to dismiss based on the sufficiency of Plaintiffs’ allegations. See Skellerup,
                       163 F.R.D. at 601.
                    24 11
                          To the extent Qatar argues that it may need to assert privileges over
                    25 discovery against other parties, it presumably would do so even if it were not
                       a named defendant in this case.
                    26
                    27                                              - 21 -             Case No. 18-cv-02421-JFW
                              MEMO OF P’S AND A’S ISO PLAINTIFFS’ OPPOSITION TO STATE OF QATAR’S MOTION TO
                    28                                                                       STAY DISCOVERY
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                     1 Pl’s Opp. To Muzin Br. Part II.A.) Delaying discovery against them in light
                     2 of those arguments is likely to delay resolution of the litigation as a whole. In
                     3 addition, as discussed in Section IV, such discovery is necessary to respond to
                     4 defendants’ jurisdictional challenges.
                     5          Third, permitting discovery to go forward is not prejudicial to third-
                     6 parties. Plaintiffs have served a number of Rule 45 subpoenas on third-party
                     7 ISPs, telephone companies, and related entities. This discovery has
L L P




                     8 overwhelmingly been non-contentious.
F L E X N E R




                     9 III.     DISCOVERY SHOULD NOT BE STAYED ON THE BASIS OF
                                RULE 12(B)(6)
                    10
                    11          Qatar’s argument that discovery should be stayed because Plaintiffs
S C H I L L E R




                    12 “have not stated a plausible claim upon which relief can be granted,” (SOQ
                    13 Br. 14), is without merit. 12
                    14          First, the FAC states a claim for relief under Iqbal. Plaintiffs allege:
                    15              • Qatar decided to target and damage Plaintiff Broidy because he
B O I E S




                    16                 was criticizing Qatar. (FAC ¶¶ 88-92.)
                    17              • Qatar “retained the GRA Defendants to coordinate an offensive
                    18                 cyber and information operation against Plaintiffs” (id. ¶ 93), and
                    19
                         12
                           The Statements of Fact in Qatar’s and Muzin’s briefs reference this Court’s
                    20
                         denial of Plaintiffs’ request for a TRO. (See SOQ. Br. 3; Muzin Br. 2.)
                    21   However, whether Plaintiffs have alleged sufficient facts to survive a motion
                         to dismiss and whether discovery should proceed as contemplated by the
                    22
                         Federal Rules of Civil Procedure are substantively different issues than those
                    23   addressed by the Court in connection with Plaintiffs’ application for a TRO—
                         namely whether, at the time, there was then admissible evidence
                    24
                         demonstrating that Plaintiffs were entitled to the “extraordinary and drastic
                    25   remedy” of preliminary injunctive relief. (See ECF No. 37.) In any event, the
                         FAC alleges myriad facts addressing Defendants’ culpability and liability.
                    26
                    27                                              - 22 -             Case No. 18-cv-02421-JFW
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                     1               GRA introduced Qatar to “known and unknown threat actors to
                     2               execute the attacks” (id. ¶ 94).
                     3            • GRA set up operations in Doha, Qatar. (Id. ¶ 95.)
                     4            • Qatar implemented its plan by engaging in a “series of hacks
                     5               and/or other misappropriation of the private communications,
                     6               documents trade secrets and intellectual property of Plaintiffs,
                     7               and unlawfully distributed those materials to the media.” (Id.
L L P




                     8               ¶ 92.)
F L E X N E R




                     9            • Numerous hacking events with details of the means, methods,
                    10               targets, and evidence used in the hacks. (Id. ¶¶ 93-139.)
                    11         The facts detailing Qatar’s and the other Defendants’ participation in
S C H I L L E R




                    12 the attacks go far beyond a single “IP address registered to a computer in
                    13 Qatar was somehow related to the alleged hack.” (SOQ Br. 15-16.) The FAC
                    14 contains more than sufficient plausible factual matter, which, accepted as true,
                    15 allows the Court to draw the reasonable inference that Qatar is liable for the
B O I E S




                    16 misconduct. See Iqbal, 556 U.S. at 678.
                    17         Second, Qatar does not merely ask the Court to stay discovery based on
                    18 a Rule 12(b)(6) motion; rather, it asks the Court to stay discovery based on a
                    19 motion it has not filed.
                    20         Third, the case law cited by Qatar does not support the imposition of a
                    21 discovery stay in this case. For example, in Rutman Wine Co. v. E & J Gallo
                    22 Winery, 829 F.2d 729 (9th Cir. 1987), the plaintiff’s complaint was dismissed
                    23 because it lacked any allegations establishing two essential elements for
                    24 antitrust claims, see id. at 734-36. The plaintiff then asked the court for leave
                    25 to conduct discovery prior to filing an amended complaint, a request that the
                    26
                    27                                            - 23 -             Case No. 18-cv-02421-JFW
                            MEMO OF P’S AND A’S ISO PLAINTIFFS’ OPPOSITION TO STATE OF QATAR’S MOTION TO
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                     1 district court and the Ninth Circuit denied. Id. In Wood v. McEwen, 644 F.2d
                     2 797 (9th Cir. 1981), the plaintiff’s complaint was dismissed after two years of
                     3 discovery because he failed to comply with court orders. Id. at 799. Three
                     4 years later, the same plaintiff filed a new complaint alleging that the judgment
                     5 in the first was procured by fraud. Id. at 800. Discovery in the second case
                     6 was stayed, and the Ninth Circuit found the claims substantively meritless. Id.
                     7 at 800, 802.
L L P




                     8         There is no similar fact pattern in the FAC. Instead, Qatar is trying to
F L E X N E R




                     9 run out the clock, knowing that with each passing day more evidence of its
                    10 cyberattacks is erased. A Rule 12(b)(6) motion simply does not justify a
                    11 discovery stay in this case.
S C H I L L E R




                    12 IV.     JURISDICTIONAL DISCOVERY IS APPROPRIATE
                    13         Although Plaintiffs have not yet propounded any discovery requests to
                    14 Qatar, it is clear that even discovery directly against a sovereign is permitted
                    15 when necessary to determine subject matter jurisdiction. Such jurisdictional
B O I E S




                    16 discovery is available when it is “useful to establish federal subject matter
                    17 jurisdiction.” Laub v. U.S. Dep’t of Interior, 342 F.3d 1080, 1093 (9th Cir.
                    18 2003). Plaintiffs generally can obtain discovery against foreign sovereigns for
                    19 the purpose of establishing whether an exception to the FSIA applies. See,
                    20 e.g., Af-Cap, 475 F.3d at 1095 (discussing district court’s permission of “more
                    21 than fifteen months of discovery from . . . the Congo”). In particular, if
                    22 discovery against a foreign sovereign or its instrumentality could show subject
                    23 matter jurisdiction under the FSIA, “[i]t is an abuse of discretion to dismiss
                    24 for lack of subject matter jurisdiction without giving [a] plaintiff reasonable
                    25 opportunity . . . to conduct discovery for this purpose.” Greenpeace, Inc., 946
                    26
                    27                                             - 24 -             Case No. 18-cv-02421-JFW
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                     1 F. Supp. at 789; see also Crist v. Republic of Turkey, 995 F. Supp. 5, 12
                     2 (D.D.C. 1998) (“[T]he parties should be permitted a fair opportunity to engage
                     3 in jurisdictional discovery so as to adequately define and submit to the court
                     4 facts necessary for a thorough and complete consideration of the issue.”).
                     5 Discovery may proceed against a sovereign otherwise entitled to FSIA
                     6 immunity if it is “ordered ‘circumspectly and only to verify allegations of
                     7 specific facts crucial to the immunity determination.’” Id. (quoting Conn.
L L P




                     8 Bank of Commerce v. Republic of Congo, 309 F.3d 240, 260 n.10 (5th Cir.
F L E X N E R




                     9 2002)).
                    10          If such discovery directly against a sovereign is permissible to resolve
                    11 questions of subject matter jurisdiction, jurisdictional discovery of third
S C H I L L E R




                    12 parties and non-sovereign defendants must be at least equally (and likely
                    13 significantly more) available to Plaintiffs here. 13
                    14                                     CONCLUSION
                    15          For the reasons set forth above and in Plaintiffs’ Opposition to Muzin’s
B O I E S




                    16 Motion to Stay, this Court should deny Qatar’s Motion to Stay Discovery.
                    17                                       Respectfully submitted,
                    18
                         Dated: June 11, 2018                BOIES SCHILLER FLEXNER LLP
                    19                                       By:    /s/ Lee S. Wolosky
                    20
                                                                    LEE S. WOLOSKY
                    21                                              Counsel for Plaintiffs
                    22
                    23
                    24   13
                         Notably, Plaintiffs are unaware of any court denying jurisdictional
                    25 discovery directed to an outside contractor claiming to be the agent of a
                       foreign sovereign.
                    26
                    27                                              - 25 -             Case No. 18-cv-02421-JFW
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                    28                                                                       STAY DISCOVERY
